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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                   6/21/2023

DEVIN G. NUNES,

                                            Plaintiff,                22-CV-01633 (PKC)(SN)

                          -against-                                            ORDER

NBCUNIVERSAL MEDIA, LLC,

                                            Defendant.

-----------------------------------------------------------------X


SARAH NETBURN, United States Magistrate Judge:

        On June 14, 2023, the Honorable P. Kevin Castel referred this case to my docket for

general pretrial supervision. On June 2, 2023, Defendant identified two global deficiencies in

Plaintiff’s discovery responses. Defendant alleges that Plaintiff has failed to preserve relevant

records and failed to identify complete contact information he identifies as former staff members.

Plaintiff maintains that he had no documents relating to this action in his possession or control

when he left Congress and that all preserved documents have already been produced. In his June

8, 2023 letter, Plaintiff also identified deficiencies in Defendant’s discovery responses. To date,

Defendant has yet to respond.

        Accordingly, a conference to discuss the discovery issues raised in the parties’ discovery

letters is scheduled for June 27, 2023, at 3:00 p.m.
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       At that time the parties should dial into the Court’s dedicated teleconferencing line at

(877) 402-9757 and enter Access Code 7938632, followed by the pound (#) key.

SO ORDERED.



                                                     SARAH NETBURN
                                                     United States Magistrate Judge
DATED:        June 21, 2023
              New York, New York
